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 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,

10                                    Plaintiff,                    Case No. CR05-391RSM

11                           v.

12      IAN ELTON FUHR,                                             Minute Order
                                                                    Re: Settlement Conference
13                                   Defendants.

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15
16              THIS matter came on for a settlement conference this date with U.S. Magistrate Judge J. K. Arnold
17 pursuant to Minute Order from the Honorable Ricardo S. Martinez. Counsel and defendant met with Judge
18 Arnold this date and reached a tentative settlement regarding all unresolved issues. Because some time is
19 required to implement the agreement the parties agreed as follows:
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                (1) Judge Arnold will ask that Judge Martinez not reschedule the sentencing date in this matter until
21
     Judge Arnold has been advised by all counsel that the settlement agreement has been fully implemented;
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                (2) to track the matter for purposes of case management Judge Arnold will contact the parties on or
23
     before January 8, 2007 if he has not been earlier advised that the conditions of settlement have been
24
25 implemented and a sentencing date scheduled.
26
27              Entered by Deputy Clerk, /s/Kelly Miller, this 8th day of December 2006.
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     ORDER
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